                                                                  Thursday, March 3, 2022 at 21:35:00 Central Standard Time


Subject:    RE: Andrews v. Tri Star Discovery Responses and Protec9ve Order
Date:       Wednesday, December 29, 2021 at 9:55:55 AM Central Standard Time
From:       Betsy Hart
To:         Daniel Arciniegas, roland@mumfordlaw.net
CC:         Tara Swaﬀord
ADachments: image001.jpg

Daniel or Roland,

Can one of you advise whether your client will agree to an 10 day extension on the RFPs and whether we can
file the protective order as agreed? If not, I will file motions on both issues. Thanks.


Betsy Hart
615-599-8406 office
502-741-6831 cell

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From: Betsy Hart
Sent: Tuesday, December 28, 2021 1:34 PM
To: Daniel Arciniegas <daniel@aSorneydaniel.com>; roland@mumfordlaw.net
Cc: Tara Swaﬀord <tara@swaﬀordlawﬁrm.com>
Subject: Andrews v. Tri Star Discovery Responses and Protec9ve Order

Daniel and Roland,

Tri Star needs to have a protective order in place before it can produce documents in discovery. Please see the
attached draft and let me know if we can file it as an agreed proposed order. If so, I will draft a short motion
and send that to you before filing, as well.

We are still working on our document production. We plan to get you interrogatory responses by tomorrow
but would like some additional time on the RFP responses. Can we have an additional ten days – until January
7 – to get those to you? Please call me on my cell (below) if you would like to discuss any of this. Thanks.




Elizabeth “Betsy” Hart
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